   Case 7:20-cv-00224-WLS-TQL       Document 399     Filed 10/23/24   Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              VALDOSTA DIVISION

YANIRA YESENIA OLDAKER et. al.,           :
                                          :
              Plaintiffs,                 :
                                          :
      v.                                  :      CASE NO: 7:20-CV-224 (WLS)
                                          :
THOMAS P. GILES, et al.
                                          :
                                          :
           Defendants.
                                          :
___________________________________

                                     ORDER
      Before the Court is Plaintiff’s Motion to Amend/Correct (Doc. 398) their Second
Amended Complaint (“the Motion”) (Doc. 210). Defendant United States of America is
ORDERED to file a response to the Motion no later than Friday, October 25, 2024, at
12:00 P.M..


       SO ORDERED, this 23rd day of October 2024.


                                      /s/ W. Louis Sands
                                      W. LOUIS SANDS, SR. JUDGE
                                      UNITED STATES DISTRICT COURT




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